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                                  22-2839
               _____________________________________________

                United States Court of Appeals
                     for the Third Circuit
               _____________________________________________
                                        ROBERT WHARTON,
                                               v.
                      SUPERINTENDENT GRATERFORD SCI


             THE PHILADELPHIA DISTRICT ATTORNEY’S OFFICE,
                  PAUL GEORGE, and NANCY WINKELMAN,
                                          Appellants.
                    _____________________________________________________________________________________



            On Appeal from the Order entered on September 12, 2022,
    in the United States District Court for the Eastern District of Pennsylvania
                     in Civil Action No. 2:01-cv-06049-MSG
                    ______________________________________________________________________________________



 MOTION OF COURT-APPOINTED AMICUS CURIAE AND PROPOSED
  AMICI LISA NEWMAN, PATRICE CARR, AND DR. DAVID “TONY”
ANTONY HART FOR AN ENLARGEMENT OF THE ORAL ARGUMENT
  TIME AND FOR LEAVE FOR PROPOSED AMICI TO PARTICIPATE
                      IN ORAL ARGUMENT
         ______________________________________________
      Court-Appointed Amicus Curiae Counsel in Support of Affirmance and

proposed amici Lisa Newman, Patrice Carr, and Dr. David “Tony” Antony Hart

respectfully request that the Court (1) increase the total time allotted for oral

argument in this appeal to 40 minutes; and (2) grant leave for proposed amici to

participate in oral argument with 5 minutes of argument time. Court-appointed

amicus counsel and proposed amici jointly state the following in support of this

request:
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        1.       Earlier this week, this Court scheduled oral argument in this appeal for

October 11, 2023, and allotted 15 minutes of argument time to Appellants and 15

minutes of argument time to court-appointed amicus, for a total of 30 minutes of

argument time. ECF No. 70. Following that allotment of argument time, counsel

for proposed amici Lisa Newman, Patrice Carr, and Tony Hart contacted court-

appointed amicus to request an opportunity to present argument on behalf of the

proposed amici.

        2.       One of the questions presented in this appeal is whether the District

Court        properly   sanctioned   Appellants    for   misleadingly    implying    that

“communication with the victims’ family” supported granting Robert Wharton

habeas relief. See generally ECF No. 36 at 44-48; ECF No. 47. The District Court

imposed sanctions for this misrepresentation because it “impeded [the Court’s]

ability to ensure that the victims were provided their statutory rights.”           A68.

Proposed amici are the victims in this case: Lisa Newman is the daughter of Bradley

and Ferne Hart, who was left to freeze to death after Wharton murdered her parents;

Patrice Carr is Bradley’s sister; and Tony Hart is Bradley’s brother.

        3.       Court-appointed amicus counsel agrees with the proposed amici that it

would be helpful for the Court to hear from them at oral argument. Proposed amici’s

participation at oral argument would allow them to explain how Appellants

misrepresented their communication with them, how that misrepresentation affected



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them, and why that misrepresentation was material and properly sanctionable. And

proposed amici’s participation would let them explain how the District Court’s

sanctions order upholds the rights of victims as established by the federal Crime

Victims’ Rights Act and Pennsylvania Crime Victims Act.

       4.      Pursuant to Federal Rule of Appellate Procedure 29(a)(8), proposed

amici “may participate in oral argument only with the [C]ourt’s permission.” Court-

appointed amicus counsel and proposed amici thus respectfully seek such

permission.

       5.      To ensure that there is sufficient time to address the important issues

presented by this appeal, court-appointed amicus counsel and proposed amici also

respectfully request that the Court increase the time allotted for oral argument to a

total of 40 minutes, to be divided as follows: 20 minutes for Appellants, 15 minutes

for court-appointed amicus counsel, and 5 minutes for proposed amici.1




   1
     Wharton opposes the request for proposed amici’s participation at oral
argument. Appellants have not provided their position on the relief requested in this
motion.

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Dated: September 1, 2023                    Respectfully submitted,

/s/ Allyson N. Ho                           /s/ Christina R. Gay
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Newman, Patrice Carr, and Dr. David
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                           COMBINED CERTIFICATIONS

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1) and Local Appellate

Rules 27.3 and 113.4, I certify that:

      1.      This motion complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d)(2)(A) because it contains 469 words, excluding the

parts exempted under Federal Rule of Appellate Procedure 32(f).

      2.      This motion complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 27(d)(1)(E) because this motion has been

prepared in a proportionally spaced typeface in 14-point Times New Roman font

using Microsoft Word for Microsoft 365.

      3.      On September 1, 2023, I caused a copy of this motion to be filed via the

Court’s CM/ECF system and thus to be served on all parties’ counsel registered to

receive electronic notices.

Dated: September 1, 2023                     Respectfully submitted,

                                             /s/ Christina R. Gay
                                             Christina R. Gay
